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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )            CASE NO. MJ 13-047
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   LATASHA NICOLE CHAMBERS,             )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Bank Fraud, Access Device Fraud, Aggravated Identity Theft

15 Date of Detention Hearing:     February 1, 2013.

16          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18 that no condition or combination of conditions which defendant can meet will reasonably

19 assure the appearance of defendant as required and the safety of other persons and the

20 community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          1.     Defendant has a lengthy criminal record with numerous controlled substances



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01 violations and forgery, theft and identity theft charges. Her record includes multiple failures to

02 appear for hearing with resultant bench warrant activity. The AUSA alleges the instant

03 offense follows months or years of identity theft activity.

04          2.       Defendant has an unstable residential and employment history. She has a

05 history of substance abuse including recent methamphetamine use, despite completion of a

06 year-long inpatient drug treatment program.

07          3.       Due to the nature and circumstances of the instant offense, defendant allegedly

08 has access to numerous personal identifiers and fraudulent identity documents, increasing the

09 risk of flight.

10          4.       There does not appear to be any condition or combination of conditions that will

11 reasonably assure the defendant’s appearance at future Court hearings while addressing the

12 danger to other persons or the community.

13 It is therefore ORDERED:

14      1. Defendant shall be detained pending trial and committed to the custody of the Attorney

15          General for confinement in a correction facility separate, to the extent practicable, from

16          persons awaiting or serving sentences or being held in custody pending appeal;

17      2. Defendant shall be afforded reasonable opportunity for private consultation with

18          counsel;

19      3. On order of the United States or on request of an attorney for the Government, the

20          person in charge of the corrections facility in which defendant is confined shall deliver

21          the defendant to a United States Marshal for the purpose of an appearance in connection

22          with a court proceeding; and



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01     4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel

02        for the defendant, to the United States Marshal, and to the United State Pretrial Services

03        Officer.

04        DATED this 1st day of February, 2013.

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06                                                      A
                                                        Mary Alice Theiler
07                                                      United States Magistrate Judge

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